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             EXHIBIT 42
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FT Collections Greensill Capital
Sanjeev Gupta
Sanjeev Gupta’s auditor quit after lack of evidence to complete work
King & King resigned after director rejected proposal to issue disclaimer saying there was ‘insufficient
information’ for audits




Sanjeev Gupta was the sole director of the four businesses King & King resigned as auditor for during the period under review
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Robert Smith, Sylvia Pfeifer and Michael O’Dwyer SEPTEMBER 20 2022



Sanjeev Gupta’s longtime auditor King & King resigned from its role at his UK
steelworks after it was blocked from stating there was insufficient information to
complete its work.

The disagreement over the accounts is laid out in King & King’s resignation letters
for four of Gupta’s main British steelworks that collectively employ thousands of
workers across Yorkshire, the Midlands and Scotland.

The letters filed at Companies House also cite the Serious Fraud Office’s
investigation into the Gupta family’s sprawling GFG Alliance conglomerate, which
was launched after the group’s main lender, Greensill Capital, collapsed last year.




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King & King, a two-office firm that is itself under investigation for previous audits
of Gupta’s companies, stated in the letters that it had been “unable to complete”
long overdue audits for the year ending March 31 2020. The letters, dated August
17 2022 and signed by King & King partner Milan Patel, cite “a lack of sufficient
information and evidence” around several key areas.

They state that the firm then resigned because it “proposed to issue a disclaimer
which the director would not accept”. An auditor issues a “disclaimer of opinion”
when it is unable to obtain enough evidence to complete its audit. Gupta was the
sole director of the four businesses during the period under review.

GFG Alliance said: “We have parted company with King & King due to overall
issues resulting from the collapse of Greensill Capital. We are in the process of
appointing new auditors. There is no impact on the operations of any of our
businesses.”

GFG added that the disclaimer would not have met the standard for audited
accounts. King & King’s Patel did not respond to an email requesting comment.

King & King stated in the letters that it was unable to find sufficient audit evidence
around three main areas. Firstly, for “any internal investigations” into the alleged
fraud cited in the SFO’s investigation into GFG. Secondly, for the companies’
ability to fund themselves for 12 months after approving their financial statements.
Finally, for the “recoverability of related party balances”.

Companies in Gupta’s GFG Alliance have previously attracted scrutiny for the large
amount of related party transactions they conduct with each other.

The Financial Times revealed in 2020 that Gupta’s Wyelands Bank was under
investigation for allegedly skirting around rules restricting related party lending.
The bank’s auditor Mazars stated this year that Wyelands had faced “sustained
challenges” in recovering loans from “fellow GFG Alliance firms”.

The businesses King & King’s resignation letters related to were Liberty Speciality
Steels, Liberty Pressing Solutions, Liberty Steel Distribution and Liberty Steel
Dalzell. It has not yet issued letters for other businesses within the group,
including Gupta’s Lochaber aluminium smelter, which benefits from a taxpayer-
backed guarantee from the Scottish government and filed unaudited accounts last
month.




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King & King, which once audited scores of companies in Gupta’s GFG Alliance that
collectively reported billions of pounds in revenue, faced questions from MPs last
year about whether it had the size and expertise needed to scrutinise the accounts
of such a large business.

Gupta has been racing to secure fresh financing since the collapse of GFG’s main
lender Greensill Capital in March last year, but has yet to secure a long-term
alternative.




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